
83 So. 3d 1272 (2011)
THE MISSISSIPPI BAR
v.
John H. WHITFIELD.
No. 2007-BD-01655-SCT.
Supreme Court of Mississippi.
February 14, 2011.

ORDER
JAMES E. GRAVES, JR., Presiding Justice for the Court.
¶ 1. This matter came before the Court en banc on the Motion for Disbarment filed by the Mississippi Bar. The Bar filed a formal complaint against attorney John H. Whitfield based on Whitfield's felony convictions in the United States District Court for the Southern District of Mississippi. Whitfield did not file a response and waived service of process through counsel. By order filed January 17, 2008, this Court granted the Bar's subsequent Motion for Indefinite Suspension Pending Appeal, Striking from Rolls, Suspending and Staying Proceedings. On December 11, 2009, the United States Court of Appeals for the Fifth Circuit reversed Whitfield's conviction for federal program bribery, but affirmed his conviction on all other counts. See U.S. v. Whitfield, 590 F.3d 325 (5th Cir.2009). On October 4, 2010, the United States Supreme Court denied Whitfield's petition for writ of certiorari.
¶ 2. Thereafter, the Bar filed this Motion for Disbarment. The Bar asserts that Whitfield's appeal has been concluded and asks this Court to disbar him pursuant to Rule 6 of the Mississippi Rules of Discipline. After due consideration, this Court finds that the motion should be granted.
IT IS THEREFORE ORDERED that:
1. John H. Whitfield is hereby permanently DISBARRED from the practice of law in the State of Mississippi.
2. This order shall constitute notice of permanent disbarment in this cause.
3. The Clerk of this Court shall forward certified copies of this order to John H. Whitfield and the Executive Director of the Mississippi Bar.
4. John H. Whitfield shall, within thirty days following entry of this order, notify clients and affected courts of his disbarment and comply with all other requirements applicable to disbarred attorneys pursuant to Rule 11 of the Mississippi Rules of Discipline.
5. John H. Whitfield shall, within forty-five days following entry of this order, file an affidavit with this Court stating that all of his clients have been notified of his disbarment and his consequent inability to practice law in Mississippi and that he has complied fully with all of the requirements set forth in Rule 11 of the Mississippi Rules of Discipline.
*1273 6. The Clerk of this Court shall immediately forward certified copies of this order to the Chancery Clerk and the Circuit Clerk of Harrison County and to the senior chancellor of the Chancery Court of Harrison County and the senior circuit judge of the Circuit Court of Harrison County, and the order shall be entered upon the minutes of those courts in accordance with Rule 8.6(iii) of the Mississippi Rules of Discipline.
7. The Clerk of this Court likewise shall immediately forward certified copies of this order to the Clerks of the United States District Courts for the Northern and Southern Districts of Mississippi, the Clerk of the United States Court of Appeals for the Fifth Circuit, and the Clerk of the Supreme Court of the United States.
8. Costs of these proceedings are hereby assessed against John H. Whitfield.
SO ORDERED, this the 14th day of February, 2011.
KITCHENS, J., NOT PARTICIPATING.
